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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
JARMIRIAN BATISTA RODRIGUEZ, SAILYN
PENA, JORDANNIS COSME BATISTA, OLGA                            Case No.: 21-cv-03110 (BMC)
JAIME, ORLANDO RODRIGUEZ and RAMON
LUIS SOTO, individually and on behalf of all others            STIPULATION AND
similarly situated,                                            ;;;;;;; ORDER
                                                               [PROPOSED]
                                                               REGARDING ISSUANCE OF
                                               Plaintiffs,     COLLECTIVE ACTION
                       - against -                             NOTICE AND DISCLOSURE
                                                               OF CONTACT
ELECTRONIC DEALS, INC., S & V TRADING OF                       INFORMATION
NY, LTD., VOVOYA, INC. and GUY J. ESSES a/k/a
JOEY G. ESSES a/k/a GUY ASSIS,

                                             Defendants.

       Counsel for the Plaintiffs and Defendants (                            , hereby stipulate and

agree as follows:

       WHEREAS, Plaintiffs filed a complaint on June 2, 2021 (ECF No. 1), asserting inter alia

overtime claims under the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.              ; and

       WHEREAS, Plaintiffs seek to furnish notice to hourly employees of Electronic Deals, Inc.

who were employed at any time from June 2, 2018 to the present           FLSA               ; and,

       WHEREAS, instead of expending resources litigating Plaintiffs anticipated motion for

dissemination of notice pursuant to 29 U.S.C. § 216(b), the Parties, without prejudice to

Defendan    right to challenge the conditional collective action at a later date,

participation therein, have negotiated the terms of a proposed notice to be sent to members of the

FLSA collective (the           , and the process for disseminating the Notice;

       NOW THEREFORE, it is hereby stipulated and agreed as follows:

       1.      The Parties consent to dissemination of the Notice.

       2.      Defendant    consent is made without prejudice, and shall not affect their right to

move the Court to decertify the conditionally-certified collective,


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participation in the collective, or otherwise defend itself in this lawsuit to the fullest extent that it

so chooses in its sole discretion.

          3.    Defendants do not waive their right to assert any and all available defenses,

including but not limited to the defense that they are not liable for all or part of any alleged damages

pursuant to the FLSA or that Plaintiffs fail to state a claim under the FLSA, or that a 2 year Statute



          4.    Within ten (10

Defendants shall provide to              counsel the names, email addresses, and last known mailing

addresses for the FLSA Collective as described above

          5.    Within ten (10) business days after                c          receipt of the Collective

List,             counsel shall mail and email the proposed Notice (annexed hereto as Exhibit 1)

and Consent to Join form (annexed hereto as Exhibit 2), in English and Spanish to each individual

on the Collective List.

          6.    If any Notice mailed to any member of the FLSA Collective is returned as

undeliverable, and there is no forwarding address, Plaintiffs counsel will notify counsel for

Defendants, and Defendants shall furnish, within five (5) business days of such notice, the

individ                                                . Plaintiffs counsel will take reasonable steps

to                                               promptly re-mail the Notice and Consent to Join to

such individual. The social security number and date of birth will remain confidential and will

only be used for the purposes of locating the putative collective member.

          7.    Plaintiffs counsel shall promptly re-mail Notice to any member of the FLSA

Collective whose Notice is returned as undeliverable, and where there is a forwarding address.




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          8.    The individuals identified in the Collective List shall have 60 calendar days from

the date on which                                  -               mail or email the Consent to Join

form to             Counsel. If the Consent to Join form is mailed, it must be postmarked during

the Opt-In Period in order to be timely.

          9.    Notwithstanding the time limits set forth above individuals whose initial Notice is

returned as undeliverable and for whom a Notice is re-mailed shall have 30 additional calendar

days from the date on which a second Notice is mailed to mail or email the Consent to Join form

to Plaintiffs counsel.

          10.   Within five (5) business days of receipt of each timely Consent to Join form,



                                         The address, telephone number, and email address may be

redacted.

          11.   Within (5) business days after the close of the opt-in period,          counsel shall

file a letter with the Court via ECF an opt-in list containing, for each individual who returned an

opt-in form, (a) the opt-in            name, (b) date of original mailing, (c) date of re-mailing (if

applicable), (d) date on which the opt-in period ended for said individual, (e) date on which the

opt-in form was mailed or emailed to                counsel, (f) date on which the consent was filed

via ECF, and (g)

          12.                                                                      unless Defendant

consents.

          13.

until September 9, 2021.




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Dated:                                    Dated:

MOSER LAW FIRM, P.C.                      STEPHEN D. HANS & ASSOCIATES, P.C.
A
At
 tto
  torrnney
        eys fo
Attorneys   ffor
              or P
                 Plaintiffs               Attorneys
                                          Atto
                                             orn
                                              r eeyys fo
                                                      ffor
                                                        or Defen
                                                           Defendants

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                                               ___________
                                                        _____
                                                            _____
 By: Steven John Moser                     B
                                           By: S
                                               Stephenh D  D. H
                                                              Hans
 5 E. Main Street                          30-30 Northern Blvd.
 Huntington, New York 11743                Suite 401
 516-671-1150                              Long Island City, NY 11101
 smoser@moseremploymentlaw.com             (718) 275-6700
                                           shans@hansassociates.com

                  
SO ORDERED:

Digitally signed by Brian
M.   Cogan
___________________________________
BRIAN MARK COGAN, USDJ




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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK


                    If you were employed by
                  ELECTRONIC DEALS, INC.
                     please read this notice:
        This is a court authorized notice. This is not a solicitation from a lawyer.

          Employees have filed a lawsuit against
                  , claiming that they were not paid for break periods during which
          they clocked out for 20 minutes or less.

          The lawsuit is proceeding as a collective action on behalf of all current
          and former hourly employees who worked for Electronic Deals at any
          time after June 2, 2018.

          The Court has not decided whether Electronic Deals. did anything wrong.
          However, you have a choice to make now:

         YOUR LEGAL RIGHTS AND OPTIONS IN THIS LAWSUIT
                           If you wish to be included, you must complete and mail or
                           email the form at the end of this Notice before ___________.

        ASK TO BE          If you mail or email the form at the end of this Notice, you keep
        INCLUDED           the possibility of getting money or benefits that may come from
                           this lawsuit, but you give up any rights to separately sue
                           Electronic Deals for federal overtime claims.

                           By doing nothing, you will not be included in this collective
                           action. This means that you give up the possibility of getting
                           money or benefits that may come from a trial or settlement in
       DO NOTHING
                           this lawsuit if those bringing the lawsuit are successful. But you
                           keep any rights to sue separately for federal overtime claims.


                            Please read this notice carefully.




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   1. Why Did I Get This Notice

You are getting this notice because records show that you are an hourly employee who worked
for Electronic Deals after June 12, 2018. The federal court in the Eastern District of New York

                                s.

   2. What are the Federal Overtime Claims?

The Plaintiffs are claiming that Electronic Deals violated federal overtime law because
Electronic Deals did not pay its workers for breaks during which they clocked out for 20 minutes
or less. Defendants deny these claims.

   3. Has the Court decided who is right?

The Court has not decided whether the Plaintiffs or Defendants are correct. By approving the
issuance of this Notice, the Court is not suggesting that Plaintiffs will win or lose the case.

   4. What is a collective action and who is involved?

In a collective action lawsuit, one or more persons can bring a lawsuit on behalf of other
employees. All hourly workers employed by Electronic Deals who return the opt-in form will be
                                Court resolves the case (or the case is settled) for everyone who
decides to join the case.

   5. What are the Plaintiffs asking for?

Plaintiffs are
              Plaintiffs also are seeking recovery of attorneys' fees and costs.

   6. Can I join this lawsuit?

To be eligible to join this lawsuit, you must have worked for Electronic Deals as an hourly
employee after June 2, 2018.

   7. What happens if I join this lawsuit?

If you join this lawsuit, you will be bound by any ruling, settlement, or judgment, whether
favorable or unfavorable. If there is a favorable resolution or judgment, you will be entitled to
some portion of the recovery.

If you join this lawsuit, you may be asked to give testimony and information about your work for
Electronic Deals
assist you with the process. For this reason, if you join this lawsuit, you should preserve all
documents relating to your employment which are currently in your possession.

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   8. What happens if I do nothing at all?

You are not obligated to join this lawsuit. If you choose not to join this lawsuit, you will not be
entitled to share any amounts recovered by Plaintiffs as part of this lawsuit. You will not be
affected by any ruling, judgment or settlement rendered in this case, whether favorable or
unfavorable. You also will be free to independently retain your own counsel and file your own
individual lawsuit, subject to any defenses that might be asserted. You should be aware that your
federal wage and hour claims are limited by a two or three-year statute of limitations, and delay
in joining this action, or proceeding separately, may result in some or all of your claims expiring
as a matter of law.

   9. How do I ask to be included in the case?

                          Consent to join If you choose to join, it is extremely important that
you read, sign and promptly return the Consent to Join Form.

You are not required to consent and do not have to join this lawsuit. That is your choice.

If you do wish to join this lawsuit, and addressed envelope is enclosed for your convenience.
Should the enclosed envelope be lost or misplaced, the Consent to Join Form must be mailed or
emailed to:

                                       Moser Law Firm, P.C.
                                Attn: Rodriguez v. Electronic Deals
                                        5 East Main Street
                                  Huntington, New York 11742
                                    admin@moserlawfirm.com

The signed Consent to Join form must be postmarked or emailed by [60 days from mailing of
this Notice]. If your signed Consent to Join Form is not postmarked or emailed by [60 days from
mailing of the Notice], you will not participate in this lawsuit.

If you have questions about any information in this Notice, you may contact the Moser Law
Firm.

   10. Do I have a lawyer in this case?

If you choose to join this lawsuit
attorney will be:

                                           Steven J. Moser
                                        Moser Law Firm, P.C.
                                          5 East Main Street
                                     Huntington, New York 11743
                                           (516) 671-1150

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                                steven.moser@moserlawfirm.com

If you decide to join this lawsuit you may also retain counsel of your choosing or you may represent
yourself.

   11. How will the lawyers be paid?

The named Plaintiffs have entered into a contingency fee agreement with Plaintiffs' counsel,
which means that if you choose to be represented by Plaintiffs counsel, and do not win, there
will be no attorneys' fees or costs chargeable to you. Under the fee agreement, in the event there
is a recovery, Plaintiffs' counsel will receive a percentage of any settlement obtained or money
judgment entered in favor of all members of the class. The Court may also be asked to determine
the amount of fees. The fees may be part of a settlement obtained or money judgment entered in
favor of Plaintiffs, or may be ordered by the Court to be separately paid by the Defendants, or
may be a combination of the two. A copy of the contingency fee agreement executed by the
named Plaintiffs may be obtain                                     counsel identified above.

   12. Do the Defendants have Counsel in this Matter?

The Defendants are represented by:

                                        Stephen D. Hans
                               Stephen D. Hans & Associates, P.C.
                                     30-30 Northern Blvd.
                                           Suite 401
                                  Long Island City, NY 11101

   13. Further Information

You may obtain further information about this case by calling the Moser Law Firm, P.C. at 516-
671-1150, or by email to admin@moserlawfirm.com.




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                           CONSENT TO JOIN/CONSENTIMIENTO A UNIRSE

 THIS FORM MUST BE MAILED OR EMAILED ON OR BEFORE [60 DAYS AFTER MAILING OF
 ORIGINAL NOTICE, OR 30 DAYS AFTER RE-MAILING OF NOTICE, WHICHEVER IS LATER]

  ESTE FORMULARIO DEBE ENVIARSE POR CORREO O POR CORREO ELECTRÓNICO EN O
 ANTES [60 DÍAS DESPUÉS DEL ENVÍO DE LA NOTIFICACIÓN ORIGINAL, O 30 DÍAS DESPUÉS
            DE VOLVER A ENVIAR LA NOTIFICACIÓN, LO QUE SEA POSTERIOR]

I consent to join the collective action brought in United States District Court for the Eastern District of New
York entitled Rodriguez v. Electronic Deals, Inc., 21-cv-03110 (BMC) for purposes of asserting a claim under
the Fair Labor Standards Act for overtime wages. I authorize the Moser Law Firm, P.C. to file this consent with
the Clerk of the Court, with my address, telephone number, and email redacted. I agree to be bound by any
adjudication by the Court or settlement of this action.

Doy mi consentimiento a unirme a la acción colectiva presentada en el Tribunal de Distrito de los Estados
Unidos para el Distrito Este de Nueva York titulada Rodriguez v. Electronic Deals, Inc., 21-cv-03110 (BMC)
con el fin de hacer una reclamación en virtud de la Ley de Normas Laborales Justas para salarios de horas
extras. Autorizo al Moser Law Firm, P.C. a presentar este consentimiento ante el Secretario del Tribunal, con
mi dirección, número de teléfono y correo electrónico redactados. Acepto estar obligado por cualquier decisión
del Tribunal o acuerdo de esta acción.

       Name
       Address
       Telephone
       Email

If any of the above information is incorrect, please complete the following:
Si alguna de la información anterior es incorrecta, complete lo siguiente:

Name/Nombre:

Address/Dirección:



Telephone Number/Numero de teléfono:

Email/Correo electrónico

To be valid, this form must be signed/ Para ser válido, este formulario debe estar firmado.

X
Signature/Firma                                                     Date

MAIL TO:       MOSER LAW FIRM, PC
               Attn: Rodriguez v. Electronic Deals
               5 East Main Street
               Huntington, NY 11743
               516-671-1150
EMAIL:         admin@moserlawfirm.com
